     Case 3:04-cv-00251-HSO-ASH           Document 767        Filed 07/20/18     Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF
                           MISSISSIPPI NORTHERN DIVISION
 OLIVIA Y., by and through her next friend, James D. Johnson;
 JAMISON J., by and through his next friend, Clara Lewis;
 DESIREE, RENEE, TYSON, and MONIQUE P., by and through
 their next friend, Sylvia Forster; JOHN A., by and through his
 next friend, James D. Johnson; CODY B., by and through his
 next friend, Sharon Scott; MARY, TOM, MATTHEW, and
 DANA W., by and through their next friend, Zelatra W.; AND
 SAM H., by and through his next friend, Yvette Bullock; on their
 own behalf and behalf of all others similarly situated,

                                             Plaintiffs.
                                                                    CIVIL ACTION NO.
v.                                                                  3:04-CV-251-TSL-FKB


 PHIL BRYANT, as Governor of the State of Mississippi;
 DONALD TAYLOR, as Executive Director of the Department
 of Human Services; AND BILLY MANGOLD, as Director of
 the Division of Family and Children’s Services,


                                             Defendants.


                     PLAINTIFFS’ REPLY IN SUPPORT OF
              THE REMEDY PHASE OF THEIR RENEWED MOTION FOR
             CONTEMPT AND FOR THE APPOINTMENT OF A RECEIVER

        Plaintiffs submit this reply in support of their renewed motion for contempt and for the

appointment of a receiver. See Dkt. Nos. 739 and 740.

I.      INTRODUCTION

        Defendants concede non-compliance with the stipulated caseload requirements, but say

that non-compliance is excused by (1) their unilateral determination of what constitutes

“substantial compliance,” and (2) a lack of legislative funding, which they admit occurred after

they failed to comply with the caseload targets. These excuses do not save Defendants from
      Case 3:04-cv-00251-HSO-ASH           Document 767        Filed 07/20/18      Page 2 of 11




violation of the Court’s Stipulated Third Remedial Order [Dkt. No. 713] (“STRO”), or from a

finding of contempt.

         It is undisputed that Defendants failed to meet the caseload performance targets set by the

STRO. This recent failure is not a stand-alone event. It must be evaluated in the context of the

history of this case, and against a backdrop of failures brought to the Court’s attention

repeatedly, including three years ago. See Plaintiffs’ 2015 Renewed Motion for Contempt, for

an Evidentiary Hearing and for the Appointment of a Receiver [Dkt. No. 622 (“Renewed Motion

for Contempt”)] and Memorandum in Support [Dkt. No. 623]. These failures predate the alleged

lack of legislative funding that apparently prompted Defendants’ Rule 60(b) Motion; they are not

a result of that lack of funding.

         Moreover, a lack of legislative funding is not a defense to Defendants’ non-compliance

with unconditional promises made in stipulated court orders. If that were the law, then

constitutional rights, and the court orders that enforce such rights, could be routinely

circumvented and excused by legislative funding cuts. As a result of Defendants’ failure to

comply with this fundamental requirement of this Court’s Orders, the Court should declare that

more than seven years of non-compliance is enough, schedule a hearing if the Court deems that

necessary, hold Defendants in contempt, and appoint a receiver.

II.      ARGUMENT

      A. Applicable Civil Contempt Standard

         To justify a finding of civil contempt, a “movant must establish by clear and convincing

evidence that (1) a court order was in effect, (2) the order required specified conduct by the

respondent, and (3) the respondent failed to comply with the court’s order.” McNeal v. Tate

Cnty. Sch. Dist., 2016 WL 7156554, *9 (N.D. Miss. Dec. 7, 2016) (quoting Petroleos Mexicanos



                                                  2
   Case 3:04-cv-00251-HSO-ASH             Document 767         Filed 07/20/18      Page 3 of 11




v. Crawford Enters., 826 F.2d 392, 401 (5th Cir. 1987)). Once the movant has shown a prima

facie case, the burden falls on the violating party to “show either mitigating circumstances that

might cause the district court to withhold the exercise of its contempt power, or substantial

compliance with the ... order.” Id.

   B. It Is Undisputed That Defendants Violated The STRO By Failing To Comply With
      The Caseload Requirements.
       The Mississippi Department of Child Protection Services (“the Agency” or “MDCPS”),

is—as it has been for many years—understaffed and under-resourced. As a consequence,

caseworkers in Mississippi have historically exercised responsibilities for an excessive number

of foster children. Such high caseloads prevent caseworkers from providing even a minimum

level of attention to foster children, lead to high caseworker turnover rates, further diminish the

quality of care provided to foster children, and prevent over-worked caseworkers from learning

about children who may be living in dangerous conditions in foster homes. In fact, as reflected

in the 2017 Public Catalyst Fourth Quarter Report, the baseline maltreatment in care rate for

foster children in Mississippi was 0.68—twice the Federal standard of .33. This figure does not

include reports that have been improperly screened out and thus are not counted. See STRO

Fourth Quarterly report attached hereto as “Exhibit A.”

       Pursuant to the STRO, Defendants agreed that by December 31, 2017, they would be in

full compliance with the caseload compliance performance targets established by Public

Catalyst. As of July 2, 2018, the Agency’s performance was at 58% statewide, the same

percentage as on March 30, 2018. The July 2, 2018 Public Catalyst caseload analysis report is

attached hereto as “Exhibit B.” Caseworkers either meet the caseload requirement or they do

not. No matter how Defendants attempt to justify that failure, by December 31, 2017, the

caseload percentage did not reach the required 90% compliance. Importantly, the 90%


                                                  3
   Case 3:04-cv-00251-HSO-ASH             Document 767        Filed 07/20/18      Page 4 of 11




compliance percentage was a metric agreed to by the Defendants, and it is a target that is

obviously less than complete 100% compliance. Accordingly, Plaintiffs submit that 90% is

substantial compliance, and not 58% or even 75%.

   C. Defendants Have Not “Substantially Complied” With The STRO

       To prove the defense of “substantial compliance,” the contemnor bears the burden of

proving that it “took all reasonable steps within [its] power to comply with the court’s order.”

See McNeal, 2016 WL 7156554 at *11 (quoting Mobile Cty. v. Purvis, 703 F.2d 580 (11th Cir.

1983)). Defendants point to the following three ways in which they have allegedly exhausted all

reasonable steps:

       As shown by the Agency’s efforts at employee retention, its compliance with each
       requirement of the STRO other than the caseload metric, and its efforts to obtain
       sufficient funding from the Legislature, the Agency has taken all reasonable
       efforts within its power to comply.


See Defendant’s Memorandum of Law in Support of Response and Objections to Plaintiffs’

Motion for Relief Pursuant to Remedy Phase of Plaintiffs’ Renewed Motion for Contempt, for an

Evidentiary Hearing and for the Appointment of a Receiver (“Defendant’s Opposition Brief”) at

pg. 10 [Dkt. No. 755].

       i.      None of Defendants’ excuses justify the failure to comply with the caseload
               metrics.

       First, caseworker retention is not a new phenomenon in Mississippi. Defendants made

the unconditional promise to be in full compliance with the caseload compliance targets by

December 31, 2017 with full knowledge of retention problems. In fact, excessive caseloads

managed by overworked caseworkers creates retention problems. For that very reason,

Defendants were admittedly focused on hiring during the first through third quarters of 2017.

See Opposition Brief at pg. 6. As the Defendants point out, however, soon after Jess Dickinson’s


                                                 4
    Case 3:04-cv-00251-HSO-ASH            Document 767        Filed 07/20/18      Page 5 of 11




appointment, 225 workers departed. See Opposition Brief at pg. 6. This mass departure of

caseworkers is indicative of underlying problems that exist within the current MDCPS

administration, rather than proof that the Agency has taken all reasonable steps to address such

problems.

       Second, contrary to Defendants’ assertion that there are other “wide ranging” areas in

which the Agency has complied with the STRO, a closer look at those areas reveals that the

Agency has complied with provisions of the STRO that are primarily “capacity building,” as

opposed to the critical child-related provisions. Aside from eliminating a backlog in licensing

relative foster homes, 1 the examples of compliance set forth in Defendants’ Opposition Brief

include hiring caseworkers (an effort undercut by the Agency’s retention problems), improving

technology, 2 training new hires, and strengthening field operations. See Opposition Brief at pg.

7. Unlike these capacity-building provisions of the STRO, the caseload requirements are key to

fulfilling the child-related requirements. Defendants have agreed to fulfill those child-related

requirements during 2018.

       ii.     The Impact of Non-Compliant Caseloads

       Defendants retained Public Catalyst to provide technical assistance to the agency. Public

Catalyst conducted an organizational analysis of Mississippi’s provision of child welfare and

foster care services. See Public Catalyst’s Organizational Analysis, dated November 24, 2015,




1
 Although Defendants eliminated a large backlog of unlicensed homes within required time
periods during 2017, compliance has subsequently declined on that measure. See MDCPS
Report, dated June 7, 2018 at pg. 16, attached hereto as “Exhibit C.”
2
 It appears that Defendants’ commitment to have in place a new computer system by 2020 is
now up in the air. This in itself may provide further evidence of non-compliance with agreed-
upon requirements. See id. at pg. 12.


                                                 5
   Case 3:04-cv-00251-HSO-ASH            Document 767        Filed 07/20/18      Page 6 of 11




attached hereto as “Exhibit D.” Within that initial assessment, Public Catalyst concluded that

caseloads were a “fundamental” aspect of Mississippi’s child welfare reform efforts and that

“[t]he first order of business must be the creation and implementation of a comprehensive,

dynamic plan to achieve manageable caseloads for staff within one year.” Id. at 16 – 17

(emphasis added).

       The importance of caseload compliance was further evidenced by the October 2017

Medical Care Review conducted by Public Catalyst. See MDCPC Medical Care Review

attached hereto as “Exhibit E” (the “Public Catalyst 2017 Medical Review”). Pursuant to

MDCPS policy, all children in its custody are required to have an initial health screening and a

comprehensive health assessment upon entry into care, along with necessary follow-up.

Caseworkers are charged with ensuring compliance with the requisite medical care. The Public

Catalyst 2017 Medical Review includes the following noteworthy findings that highlight the lack

of adequate medical care provided to children in MDCPS custody. Of those children included in

the Medicaid claims data:

   •   Only 26% received an initial health screening within the required timeframe;

   •   Of the 244 children included in the Medicaid claims data, 71 had no claims for either an

       initial health screen or a comprehensive health assessment during their time in custody;

   •   Only half are receiving timely comprehensive health assessments; up to one-third may

       not receive any well child care while in custody;

   •   Only 31% of the 171 children who were age-eligible for the dental care requirement

       received an initial dental exam in the required timeframe;

   •   Out of 154 who were age-eligible for mental health assessments, only one Medicaid

       claim for a mental health assessment was made within the required timeframe. In other


                                                6
   Case 3:04-cv-00251-HSO-ASH              Document 767        Filed 07/20/18      Page 7 of 11




       words, less than 1% of children received a mental health assessment within the required

       timeframe;

   •   Developmental assessments appeared to be one of the weakest areas of medical care

       compliance; there were no Medicaid claims for developmental assessments within the

       required timeframe; and,

   •   112 children received an initial comprehensive health exam, but only 21% of these

       received a follow-up comprehensive health exam. Public Catalyst determined that this

       data suggests a substantial reduction in follow-up well-child care for children who

       remained in custody beyond one year.

       On the surface, Defendants have checked off many of the capacity-building requirements

within the STRO. But as they concede, they have yet to reach compliance with provisions that

directly impact children, like the caseload compliance failure presently before the Court.

Defendants’ non-compliant caseloads have been a continuing long-term failure that will continue

to impact every other aspect of the child welfare reform efforts. See e.g., Public Catalyst’s

Organizational Analysis, Exhibit D, at 16 (“because the [child welfare] work is challenging and

all of the work is expected to be done under tight time constraints, it is important that caseloads

be manageable.”). Lack of compliance with the caseload limit will inevitably cause a cascading

series of other non-compliance issues; and Defendants’ failure to meet the caseload limit is

therefore the factor that drives Plaintiffs’ request that the Court impose a receivership.

       The requested relief is appropriate because Defendants have failed to rebut the prima

facie showing of civil contempt by proving the defense of “substantial compliance.” Defendants

have failed to meet the burden of demonstrating that they have taken all reasonable steps to

excuse non-compliance. See e.g., Little Tchefuncte River Assoc. v. Artesian Util. Co., Inc., 155


                                                  7
    Case 3:04-cv-00251-HSO-ASH            Document 767        Filed 07/20/18      Page 8 of 11




F. Supp. 3d 637, 657 (E.D. La. 2015) (“Failure to comply consists of not taking all the

reasonable steps within [one’s] power to insure compliance with the order.”).

    D. The Alleged “Mitigating Circumstances” Pertaining To Legislative Funding Cuts
       Do Not Justify Non-Compliance

       Although there is no exhaustive list of mitigating circumstances which would excuse a

violation of a court order, courts have generally considered whether the cause of the violation

was “beyond the control of the defendant.” See McNeal, 2016 WL 7156554 at *10.

       Here, Defendants assert that,

        “the Legislature did not appropriate the funds necessary for the Agency to hire
       the number of caseworkers needed to meet the caseload requirements …. Simply
       put, the Agency found it had insufficient funds in its FY-2018 budget to achieve a
       net increase in hiring, and state agencies are prohibited by law from spending
       money they do not have.”
See Opposition Brief at 11. Defendants have yet to explain how the 2018 and 2019 budgets

prevented them from meeting the agreed upon caseload compliance targets by the December 31,

2017 deadline. Defendants are relying upon an after-the-fact event to justify a failure that

occurred earlier in time. This same excuse forms the basis for Defendant’s F.R.C.P. 60(b)

motion. 3

       Defendants’ efforts to secure legislative funding were too little too late. Their very

modest effort to increase caseworkers’ pay on December 14, 2017, by $4,000, does not justify or

excuse the failure to meet the caseload compliance deadline that very same month. See

Opposition Brief at 7. (And whether or not additional funds were or are appropriated for

caseworker salaries, Defendants are obligated to comply with the caseload limits, as well as with



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 Plaintiffs’ Response to Defendants’ F.R.C.P. 60(b) Motion will more fully address Defendants’
argument that legislative funding cuts are “mitigating circumstances” that prevent compliance
with the STRO. See Dkt. Nos. 756 and 757.


                                                 8
   Case 3:04-cv-00251-HSO-ASH            Document 767         Filed 07/20/18     Page 9 of 11




all other provisions of the 2nd Modified Mississippi Settlement Agreement and Reform Plan

“2nd MSA”.) If anything, the last-minute request for additional salary funding appears to be a

last-minute band-aid for a problem that was not properly addressed earlier. The Governor is a

Defendant in this action and could have, but did not, make good on the promise he made when

he signed this settlement agreement to annually request “state funds and any federal/special fund

authorization sufficient to effect the provisions and outcome measures set forth in this 2nd MSA.”

Moreover, the Governor’s obligation goes beyond simply requesting funds—i.e., initiating the

process to request money—it also includes “completion,” i.e., seeing the terms of the MSA

fulfilled. And, merely requesting funds is not a panacea: the MSA specifically provides that

nothing in the paragraph that obligates the Governor to request funds “in any way limits

defendants’ obligations under” the 2nd MSA. See Dkt. No. 712 at pg. 1.

       Contempt is appropriate in this case in light of Defendants’ direct violation of the STRO.

They have not shown “substantial compliance” or “mitigating circumstances” that impacted their

ability to meet the December 31, 2017 caseload performance targets. See LaShawn A. v. Kelly,

887 F.Supp. 297, 299-301, 317 (D.D.C. 1995), aff’d sub nom. LaShawn A. v. Barry, 107 F.3d

923 (D.C. Cir. 1996) (holding that neither lack of funds nor defendants’ good faith was a defense

to non-compliance).

   E. Appointment of a Receiver is Necessary in Light of Defendants’ History of Non-
      Compliance
       Defendants assert that the departure of at-will employees provides an excuse for their

failure to comply with the STRO, and that this a defense to a finding of contempt. It is not.

There is an important distinction to be made here: the finding of contempt is due to Defendants’

direct violation of the caseload requirements in the STRO. That said, however, the lack of

stability and continuity of key leadership further demonstrates the need for appointment of a


                                                9
  Case 3:04-cv-00251-HSO-ASH             Document 767         Filed 07/20/18      Page 10 of 11




receiver. The important reform work necessary to protect the children of Mississippi cannot

succeed without stable and focused leadership. The sudden departure of key leaders who were

dedicated to and focused on the required remedial measures is a factor that cannot be ignored.

       After more than seven years of non-compliance, Defendants continue to give excuses for

their non-compliance. It has become a pattern that continues to erode Mississippi’s already-

broken child welfare system.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs request that this Court (1) find that defendants are in

noncompliance with the STRO and 2nd MSA, hence in contempt of court; (2) appoint a general

receiver with full authority to administer Mississippi’s child welfare system and to bring it into

compliance with the orders of this Court; and (3) grant such other and further relief as this Court

deems necessary and proper.

       RESPECTFULLY SUBMITTED, this the 20th day of July 2018.


                                               /s/ Marcia Robinson Lowry
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                                                10
  Case 3:04-cv-00251-HSO-ASH             Document 767         Filed 07/20/18      Page 11 of 11




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2018, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will deliver copies to all counsel of record.


                                              /s/ Marcia Robinson Lowry
                                              Marcia Robinson Lowry (pro hac vice)




                                                11
